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FEDERAL BUREAU OF PRISONS



                                     OPI:        Correctional Services
                                     NUMBER:     SET 5267.09A
                                     DATE:       February 19, 2016
                                     SUBJECT:    Visiting Regulations

INSTITUTION SUPPLEMENT
FEDERAL DETENTION CENTER
SEATAC, WASHINGTON


1.   PURPOSE: To implement regulations and procedures pertaining to
     inmate visits.

2.   DIRECTIVES AFFECTED:

     A.    Directive Rescinded: I.S. SET 5267.08H, Inmate Visiting,
           dated January 21, 2015.

     B.    Directives Referenced:
           PS1280.11 JUST, NCIC and NLETS Telecommunication Systems
                     (Management and Use) (1/7/00)
           PS1315.07 Legal Activities, Inmate (11/5/99)
           PS1490.06 Victim and Witness Notification Program (5/23/02)
           PS4500.11 Trust Fund/Deposit Fund Manual (04/19/15)
           PS5100.08 Inmate Security Designation and Custody
                     Classification(9/12/06)
           PS5180.05 Central Inmate Monitoring System Manual (12/31/07)
           PS5270.09 Inmate Discipline Program (07/08/11)
           PS5267.09 Visiting Regulations, (12/10/15)
           PS5280.09 Inmate Furloughs (01/20/11)
           PS5360.09 Religious Beliefs and Practices (12/31/04)
           PS5500.14 Correctional Services Procedures Manual (10/19/12)
           PS5510.15 Searching, Detaining, or Arresting Visitors to
                     Bureau Grounds and Facilities (7/17/13)
           PS5522.01 Ion Spectrometry Device Program (2/24/05)
           PS5521.06 Searches of Housing Units, Inmates and Inmate Work
                     Areas (6/04/15)
           PS7331.04 Pretrial Inmates (1/31/03)


3.   STANDARDS REFERENCED: American Correctional Association, 4TH
     Edition, Standards for Adult Correctional Institutions: 4-4156,
     4-4267, 4-4285, 4-4498, 4-4499, 4-4499-1, 4-4500, 4-4501, 4-4503,
     and 4-4504.
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4.   PROCEDURES:

     A.   Visiting Area:

          1.    Federal Detention Center SeaTac is located at 2425 South
                200th Street, SeaTac, Washington, 98198, on the corner of
                200th St. And 26th Avenue South, approximately 1 block west
                of Pacific Coast Highway (Hwy. 99) and 2 miles south of
                SeaTac International Airport. The exit from Highway 5 is
                200th St. exit, #151. The institution’s telephone number is
                (206)870-5700.

          2.    The following are a few of the cab companies that service
                the area.

                Orange Cab     (206)522-8800
                Yellow Cab     (253)872-5600     Shuttle Exps (425)981-7000

          3.    The following is a listing of several major airlines which
                service the SeaTac area.

                Alaska   (800) 462-0033        Continental     (800) 232-9155
                American (800) 433-7300
                Delta    (800) 221-1212
                Southwest(800) 435-9792
                US Air   (800) 428-4322
                United   (800) 241-6522

          4.    All regular visits not requiring special security measures
                will be conducted in the institution’s Visiting Room.
                Separate rooms within the visiting area are provided for
                legal visits. These rooms will not be used for social
                visiting unless approved in advance by the Captain.

          5.    Inmates requesting to utilize the restroom during visits
                will be coordinated with Visiting Room staff. All inmates
                will use the visiting search room and be observed by staff
                of the same gender. Inmates requesting to depart the
                Visiting Room will not be re-admitted.

          6.    Any other use of the Visiting Room will require the approval
                of the Warden and will be coordinated with the Captain.

          7.    Institutional Activities: Visiting is a positive activity
                for inmates and will normally take precedence over other
                institutional activities. In the event of an institution
                emergency, inmate visits may be terminated or limited at the
                discretion of the Warden.

NOTE: All inmates will be identified by picture card prior to their
visitor’s departure from the Visiting Room.

     B.   Visiting Hours:

          Social visitation hours are as follows:
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     Social visitation

     Sunday       7:30 a.m. - 2:30 p.m.
     Monday       2:00 p.m. - 9:00 p.m.
     Tuesday      NO VISITING
     Wednesday    NO VISITING
     Thursday     NO VISITING
     Friday       2:00 p.m. - 9:00 p.m.
     Saturday     7:30 a.m. - 2:30 p.m.
     HOLIDAYS     7:30 a.m. - 2:30 p.m.

     Processing of visitors will begin 30 minutes prior to scheduled
     visiting hours, and will end one hour prior to the end of the
     visitation period. Processing of visitors will be suspended 45
     minutes prior to official counts.

C.   Frequency of Visits & Number of Visitors:

     1.   All inmates will be allowed social visits for a period of
          two hours. The time period will begin when the inmate
          arrives in the Visiting Room. All inmates will be allowed
          only one visit a day.

          A)     Special Visiting Days for Federal Holidays: The
                 following Federal Holidays will have special visiting
                 for all inmates regardless of their register number.
                 The visiting hours will be from 7:30 a.m. - 2:30 p.m.

             New Year’s Day, Memorial Day, July 4th, Labor Day,
             Thanksgiving Day, & Christmas Day

          B)     Federal Holidays which will be regular visiting days
                 for inmate’s dependent upon their register number.
                 The visiting hours will be 2:00 p.m. - 9:00 p.m.

                  Martin Luther King Day
                  President’s Day
                  Columbus Day

          C)     The following Federal Holiday will be a regular
                 inmate visiting day dependent upon the inmate’s
                 register number if it falls on Friday - Monday.
                 The visiting hours will be the same as listed
                 above depending on the day of the holiday. If the
                 holiday falls on a Tuesday or Wednesday there will
                 be no visiting on this holiday.

                  Veteran’s Day

             These changes are also posted in the inmate handbook
             and on the institution web page.

     2.   Pre-trial, Holdover, and ICE inmates will be subject to
          visiting on Odd and Even calendar days, according to their
          Register Number. The fifth number of the register number
          will be the determinate for which day. All inmates whose
          register number’s fifth number is odd will be authorized to
          visit on odd calendar visiting days. All whose fifth number
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      is even, will be authorized to visit on even calendar
      visiting days. Examples are: Register Number 01234-086 may
      visit on Even visiting days (i.e., May 2) Register number
      12467-086 may visit on Odd calendar visiting days (i.e., May
      15.)

3.    Cadre inmates will be allowed to visit on all available
      social visiting days, Friday through Monday. Cadre inmates
      will be restricted to the two hour time limit on these days.

4.    All inmates may visit on special visiting days and Federal
      Holidays that are approved by the Warden. All inmates are
      limited to the two hour, single visit, period for those
      days.

5.    Inmates will be permitted to visit with a maximum of six
      visitors, including adults and children at one time.
      Children under the age of 16 are not considered adults and
      will be allowed to accompany an approved adult visitor.
      Visitors will not be permitted to exchange places
      (alternate) with another visitor outside the Visiting Room.

6.    Inmates present in the Visiting Room during official counts
      or census checks will be counted in the Visiting Room.
      Thirty minutes before the official count, the Visiting Room
      #1 Officer will prepare and submit an out-count form to the
      Control Center. The number of inmates in the Visiting Room
      will be called in at count time by totals from each unit.
      Inmates notified of a visit 30 minutes prior to an official
      count will be placed on the out-count.

7.    Visitors will not be allowed to enter or exit the Visiting
      Room during official counts. Visitor processing will not
      continue until completion of the count. Visitors will
      immediately depart the Visiting Room after completion of
      their visit and identification of the inmate.

8.    Under no circumstances will visitors be allowed to leave
      their children unattended inside the institution or on
      institutional grounds. All visitors are required to
      supervise their children directly. The visit may be
      cancelled if the visiting children are disruptive.

9.    The number of social visitors and inmates will not exceed
      125 in the Visiting Room at the same time. The Visiting
      Room Officer will contact the Operations Lieutenant if the
      number of inmates and visitors is within ten of the maximum
      number allowed. If it becomes necessary to terminate visits
      due to overcrowding, the Institution Duty Officer (IDO) or
      Operations Lieutenant, in the absence of the IDO, will begin
      with visitors who have visited the longest that day.

10.   The children’s room is intended for children under 16 years
      of age. At no time will an inmate be allowed in the
      children’s room. The visitors must supervise their child or
      an older sibling/relative can assist. Once the child
      becomes unruly they will be immediately removed from the
      children’s room and not allowed access.
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D.   Approved Visitors:

     1.   Holdover, Un-sentenced and pre-trial inmates: The visiting
          list is limited to immediate family members (i.e., mother,
          father, step parents, foster parents, brothers, sisters,
          spouse, children and domestic partners registered with the
          City of Seattle or other jurisdictions recognized by the
          State of Washington prior to their incarceration.) The
          inmate will be allowed one additional visitor if they meet
          the criteria set forth for work cadre inmates. Ordinarily,
          an initial visiting list is prepared and distributed within
          seven days of receiving the required information to process
          the visiting list for all inmate statuses.

     2.   Work Cadre inmates: In addition to immediate family members
          as listed above, Work Cadre inmates may have other relatives
          or friends added to their approved visiting list. For
          visitors other than family, the inmate must verify a
          relationship existed prior to the inmate’s confinement
          before consideration for approval. This requirement is not
          applied to individuals already on an existing approved
          visitor list. Exceptions to the prior relationship rule
          must be approved by the Warden and all requests will be
          routed through the Captain and Associate Warden of Programs
          first. Any other issues dealing with a proposed visitor’s
          back ground will be routed through the Unit Manager to the
          Associate Warden over Programs for final disposition.
          A maximum of ten visitors, in addition to immediate family
          members, may be on the visiting list for Work Cadre inmates.

     3.   The official list of approved visitors is maintained and
          updated by the inmate’s Correctional Counselor. A computer-
          generated, approved visiting list will be completed and
          signed by the Counselor and a copy forwarded to the Front
          Lobby, with copies to the inmate and the central file. In
          addition, the approved visiting list will be electronically
          transferred to the Front Lobby computer. The Front Lobby
          will maintain a file folder with all of the inmate Visiting
          Lists. This file Folder will be used to process visitors if
          the computer system is not working. Subsequent additions or
          deletions will be processed in the same manner. Inmates’ may
          request changes to their visiting list no more than once a
          month. All social visitors must be approved in advance by
          the Unit Team. Ordinarily, an initial visiting list is
          prepared and distributed within seven days of receiving the
          required information to process the visiting list for all
          inmate statuses.

     4.   Visitors may not be listed on more than one inmate’s
          visiting list, except where inmates and visitors are of the
          same immediate family.

     5.   Visitors under the age of 16 must be accompanied by an adult
          on the approved visiting list.

     6.   All visitors 16 years and older must have a valid state or
          government issued picture identification. This is defined
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           as a driver’s license or other state or government issued
           picture identification showing full name and signature. An
           expired license is not a valid form of identification. A
           license that is under current suspension can be used as
           valid identification. Any questions concerning the validity
           of a visitor’s identification should be directed to the IDO
           or Operations Lieutenant, in the absence of the IDO, for
           approval prior to entry of the visitor. All children,
           regardless of age, must be on the inmate’s approved visitor
           list.

     7.   The inmate’s Unit Team will provide the inmate with the
          visitor authorization application for all individuals
          meeting the above guidelines. Included in this packet will
          be the “Visitor’s Etiquette” statement, which includes the
          institution’s visiting procedures and policies. The inmate
          is responsible for mailing this information to each
          prospective visitor. Any proposed visitor with a criminal
          record, must have prior written approval from the Associate
          Warden (Programs) before placement on any inmate’s visiting.

     8.   Inmates will be notified of any proposed visitor not being
          authorized for placement on their visiting list, in writing
          with the “Notice of Denial for Proposed Visiting Applicant”
          form. This form will be completed by the unit team and a
          copy will be given to the inmate. One copy of the form will
          be placed in the inmate’s central file with the visiting
          request.

E. Special Visits:

     1.   Minister of Record: Inmates wanting a visit from their
          Minister of Record must submit a written request to the
          Chaplain. Upon approval, the unit team will add the name
          with the title “Minister of Record” to the inmate’s visiting
          list. An inmate is limited to only one Minister of Record
          and the prior relationship rule will not apply. The addition
          of a Minister of Record will not count against the inmate’s
          authorized visitor list total and will not impact the
          inmate’s allowed social visiting for that day. Minister of
          Record visits will be conducted in the visiting room during
          scheduled social visiting hours.

     2.   Clergy, other than the Minister of Record, will be handled
          as outlined under section 4.D. of this supplement, to
          include impacting against the total visits allowed and
          number of approved visitors on the inmate’s list.

     3.   All other Special Visits will be reviewed on a case by case
          basis and coordinated through the inmates Unit Team.
          Assigned Visiting Staff will supervise the visit.

     4.   Requests for special visits related to the inmate’s release
          planning and reentry that cannot be accomplished through the
          regular regulations and/or the telephone will be considered
          by the inmate’s unit team on a case by case basis. These
          requests should be submitted via the Inmate Request to Staff
          Form.
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F.   Legal Visits:

     1.   Legal visitation hours are as follows:

          Sunday    7:30 a.m. - 2:30 p.m.
          Monday    7:30 a.m. - 9:00 p.m.
          Tuesday   7:30 a.m. - 6:00 p.m.
          Wednesday 7:30 a.m. - 6:00 p.m.
          Thursday 7:30 a.m. - 6:00 p.m.
          Friday    7:30 a.m. - 9:00 p.m.
          Saturday 7:30 a.m. - 2:30 p.m.
          HOLIDAYS 7:30 a.m. - 2:30 p.m.

     Attorneys are encouraged to visit during this time to minimize
     any delays in visitor processing. Visiting at other times should
     only be in emergency situations, and appointments should be
     scheduled in advance with the inmate’s Unit Team to ensure staff
     coverage for the visit. When possible, 24 hours advance notice is
     requested. Processing of legal visitors will begin thirty (30)
     minutes prior to scheduled visiting hours, and will end one hour
     prior to the end of the visitation period. Visitors are advised
     that due to shift change, processing in to the building will be
     less expeditious from 1:30 to 2:00 p.m.

     2.   Attorneys must present a valid state bar identification card
          and photo identification. After completing the Notification
          to Visitor Form, attorneys will be processed through the
          metal detector and will have their hand stamped before being
          allowed entry into the institution. Attorneys and their
          representatives will be processed ahead of social visitors
          whenever possible. All legal materials and briefcases will
          be searched for contraband, and processed through the E-
          Scan. Handbags, newspapers, portable phones, and non-legal
          materials are not permitted in the Visiting Room. Attorneys
          and representatives are permitted to enter the institution
          with pagers.

     3.   Upon executing a signed agreement form, “FDC SeaTac
          Computer, Laptop, IPAD, and external memory Device
          Agreement”, attorneys are allowed to enter with their
          personal laptop, notebook, and/or IPAD. Attorneys are also
          allowed to enter with their external memory device. Power
          cords shall not exceed 6 feet. (See attachment)

     4.   Attorneys desiring to visit co-defendants must show the
          Lobby Officer the first page of the indictment listing the
          names of the co-defendant. An attorney for each inmate
          participating in the co-defendant meeting must be present at
          all times. If there is no separatee issue, the visit will
          be permitted. Meetings involving both male and female co-
          defendants must be requested in advance through Unit Team
          and require approval by Unit Team and the Captain.
          Questionable situations will be referred to the Staff
          Attorney or the IDO.
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     5.    Attorneys’ representatives (i.e., law clerks, paralegals,
           interpreters, investigators, psychologists, and other
           experts) may accompany an attorney into the Visiting Room.
           If visiting independently, the representative must obtain
           prior approval from the Unit Team as outlined in the current
           Institutional Supplement on Inmate Legal Activities.
           Questions should be referred to the Staff Attorney.

           Attorneys are not ordinarily permitted to bring material
           witnesses into the Visiting Room without clearly defined
           special circumstances. Prior approval must be received from
           the Staff Attorney and the Captain.

     6.    Attorneys may enter the Visiting Room with legal materials,
           including legal video, CD’s, DVD’s and audio tapes. All
           legal materials must leave with the attorney at the
           conclusion of the visit.

           However, legal materials may be left in the Front Lobby
           legal mailbox for delivery to the inmate. The envelope must
           be clearly marked with the attorney’s name, inmate’s name
           and register number and the following statement: “SPECIAL
           MAIL - OPEN ONLY IN THE PRESENCE OF THE INMATE.”

     7.    Inmates are permitted to bring legal materials to the
           Visiting Room. The legal materials must be examined and
           hand delivered to the Visiting Room by an available staff
           member. Once the legal visit has been concluded, the
           escorting officer will inspect the inmate’s legal materials,
           and carry them back to the unit. Attorneys are permitted to
           leave the institution with any or all of an inmate’s legal
           materials.

     8.    Normally, the attorney-client rooms will be utilized for
           legal visits. Attorneys and paralegals will be processed
           into the Visiting Room until thirty (30) minutes prior to an
           official count.

     9.    Official Visitors: Federal employees, including U.S.
           Attorneys, law enforcement agents, U.S. Court officials,
           U.S. Probation Officers, and Federal Public Defenders will
           be permitted to visit upon presentation of appropriate
           identification.

     10.   U.S. Attorneys, Federal Public Defenders, U.S. Probation and
           Law Enforcement Officers will be allowed to visit inmates in
           the units and will be supervised by the sponsoring
           department (i.e., Unit Team, SIA, or Institutional
           Attorney.) The coordinating department will submit a request
           for the visit through the Captain.

G.   Special Housing Unit (SHU) Inmates:

     1.    Ordinarily, an inmate retains visiting privileges while in
           detention or segregation status. Visiting may be restricted
           or disallowed, however, when an inmate, while in detention
           or segregation status, is charged with, or has been found to
           have committed, a prohibited act having to do with visiting
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      guidelines or has otherwise acted in a way that would
      reasonably indicated that he or she would be a threat to the
      orderliness or security of the visiting room. However, all
      social visits for inmates housed in the Special Housing Unit
      (SHU) will occur in the non-contact video visiting are
      located in the Visiting Room. The following procedures will
      be utilized for these visits:

     When an approved visitor for a SHU inmate arrives at the
     institution, the Front Lobby Officer will notify the
     Operations Lieutenant, Control Center staff, Visiting Room
     Staff, and Special Housing Unit Staff.

     SHU staff will then notify inmates in the unit when they
     have visitors. Inmates will be advised that social visits
     are non-contact and will be conducted via live video
     monitors and will be no longer than one hour in duration. A
     timer has been installed to assist in monitoring the
     duration of an inmate’s visit. An inmate may refuse to
     participate in the visit. If an inmate refuses to
     participate in the visit, SHU staff will contact the Front
     Lobby Officer, who will then advise the visitor(s) of the
     inmate’s refusal to participate. Visitor(s) will then leave
     the Front Lobby.

     Inmates choosing to participate in the video visits must be
     fully dressed in a T-shirt and institutional jumpsuit and
     shower shoes. They will be restrained with handcuffs behind
     the back and escorted to the SHU non-contact visiting room.
     Once secured in this area, the inmate’s restraints will be
     removed. SHU staff will then contact the Visiting Room
     Officer who will instruct waiting visitor(s) to enter the
     non-contact visiting area. Once the inmate and the
     visitor(s) are in position, SHU staff will turn the timer
     located outside the SHU non-contact visiting area to one
     hour and advise the inmate to pick up the receiver to
     initiate the visit. Visitor(s) will be advised to wait
     until the phone rings and then to pick up the receiver to
     begin their visit.

     SHU staff will be responsible for providing intermittent
     supervision of inmates in the non-contact Visiting Room.
     Visiting Room staff will be responsible for providing
     intermittent supervision of visitors in the non-contact
     visiting area. Staff will be alert for inmate attempts to
     damage the visiting equipment. Staff will also be alert for
     attempts at indecent exposure or sexual misconduct. Any
     unauthorized behavior will be documented in incident reports
     and will result in immediate termination of the visit.

2.   The following procedures regarding non-contact visits will
     be posted in the Front Lobby:

     Visits for inmates housed in SHU will be conducted via live
     video monitors. A telephone receiver is provided to allow
     verbal communication. An inmate may refuse to participate
     in the visit. If an inmate refuses to participate in the
     visit, SHU staff will contact the Front Lobby Officer who
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           will advise visitors of the inmate’s refusal to participate.
           Visitors will then leave the Front Lobby. Visits will be
           one hour in duration. Visitors will be subject to the same
           security screening as visitors participating in contact
           visits and will be limited to a total of six persons
           (including children) per group. Once screening is
           completed, visitors will be allowed to proceed to the
           Visiting Room where they will be seated in the front of the
           Visiting Room until staff is advised the SHU inmate has been
           placed into the SHU non-contact visiting area.
           If visitors for more than one inmate housed in SHU arrive at
           the same time, they will be processed in the order of their
           arrival. After the first visitor group is processed, other
           visitors will be advised that they will not be allowed to
           enter the Visiting Room until the preceding visit is
           completed and the visitors have departed the Visiting Room.
           The Front Lobby Officer will advise visitors waiting for
           non-contact SHU visits of an approximate time when their
           visit will be conducted. These visitors may complete the
           required paperwork, but will not be screened via metal
           detector, x-ray machine and Ion Spectrometer until
           immediately prior to entering Visiting Room. This will
           allow them to depart the lobby area and return at a time
           approximate to their visit. When the non-contact Visiting
           Room is clear, the Front Lobby Officer will conduct all
           security screening for the next group of visitors.

          Inmates and visitors are advised that all audio/video
          portions of non-contact visits will be recorded and subject
          to monitoring by staff. In the event the non-contact
          visiting equipment is damaged or out of service, visits will
          be moved to the non-contact visiting room in SHU.

H.   Records and Visitors:

     1.   In addition to the Notification to Visitor Form, each adult
          visitor will be required to sign the Visiting Log Book prior
          to each visit. Each visitor will also record their
          departure time upon leaving the Visiting Room, in the
          Visiting Log Book.

     2.   Completed Notification to Visitor Forms will be filed with
          the SIS Office for a period of one year.

I.   Visitors’ Personal Property:

     1.   Visitors will not be allowed to take any personal items into
          the Visiting Room except for their identification. All
          personal items with the exception of wallets, purses, money
          etc., will be locked in the visitor’s vehicle. Those items
          which should not or cannot be locked in the visitor’s
          vehicle will be placed in a locker located in the Front
          Lobby.

     2.   Persons utilizing the public transportation system will be
          allowed to utilize the lockers in the Front Lobby to store
          personal items for the duration of their visit.
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3.    Visitors are permitted to bring in infant care items limited
      to; one pacifier, one diaper, five diaper wipes, one bottle
      with contents or toddler(sippy)cup(clear plastic), and one
      infant size blanket. No infant toys of any kind are allowed
      in the Visiting Room. The diaper wipes can be held in a
      clear zip-lock type bag. The zip-lock type bag can be up to
      the one gallon size bag.

4.   Visitors are required to dress appropriately. This means
     clothing that is appropriate for a correctional setting. Any
     clothing that is suggestive, provocative or reveling is not
     suitable for the visiting room environment. All visitors,
     regardless of age, will have to abide by these rules.
     Clothing that is questionable in regards to taste will be
     brought to the attention of the Operations Lieutenant.

     *The following items ARE NOT permitted in the
      visiting room for social visits:

     Halter, tank or tube tops
     Open toe or heel shoes
     Sandals
     White, Brown, or Orange t-shirts
     Sleeveless Shirts
     Spandex Garments
     Shirts/blouses with plunging necklines
     Low cut tops
     Shorts
     Jogging or Sweatsuits
     Skirts or dresses shorter than 2 inches above the knee
     Suggestive/Revealing or Transparent-see through clothing
     Spandex/form fitting clothing
     Clothing w/offensive wording or signs/logos
     Hats, caps or shirts with hoods
     Khaki colored clothing
     Coats, jackets, gloves or scarves (any type of outdoor
     apparel)
     Bagging or sagging clothing
     *Any clothing item that is excessively revealing or
     inappropriate

5.   Only medication needed for the immediate preservation of
     life of a visitor will be allowed into the institution
     (i.e., asthma inhalers, nitroglycerin tablets, etc.) Staff
     will ensure visitors take only the quantity of medication
     necessary for the duration of the visit. An entry should be
     made on the individual’s Notification to Visitor Form
     describing the medication. Any questions regarding
     medication for visitors should be referred to the Operations
     Lieutenant. Any questions as to the identification of
     medication, as well as its use, will be referred to medical
     staff.

6.   All authorized items outlined in this section entering the
     visiting room must be carried in a clear plastic container
     or bag not to exceed 10 inches by 10 inches. No more than
     two such containers or bags will be allowed.
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     7.    All inmate visitors, attorneys, contractors, volunteers,
           tour groups and other individuals not identified under the
           exception of section 4.F.8., will be cleared with the Walk
           Thru Metal Detector. Those individuals who are unable to
           clear the Walk through metal detector will be checked with
           the hand held detector. If the area sounding the alarm
           cannot be identified the visitor may consent to a “pat
           search” of the area. The visitor must sign a consent form
           in order to do the search. This will be conducted by a
           staff member of the same gender as the visitor. Individuals
           with medical prosthesis such as titanium hip implants will
           be cleared with the hand-held metal detector. The
           Operation’s Lieutenant or IDO will be notified of
           individuals unable to clear with Walk Thru Metal Detector
           due to medical concerns. These cases will be addressed on an
           individual basis.

J.   Inmate Personal Property:

     1.   Inmates are only allowed to wear institution-issued clothing
          in the Visiting Room. Underclothing is required. All
          clothing must be clean and neat in appearance. Inmates may
          enter the Visiting Room with one plain wedding band, one
          approved religious neck chain, and one pair of prescription
          eyeglasses.

     2.   Medication necessary for the preservation of the inmate’s
          life will be allowed into the Visiting Room (to be
          controlled by the Visiting Room OIC). No other items will
          be allowed in the Visiting Room.

     3.   Unauthorized items brought into or out of the Visiting Room
          will be confiscated and disposition of the items will be
          determined per Program Statement 5580.08, Inmate Personal
          Property.

K.   Visiting Room Staff:

     1.   The Visiting Room Officer will identify all inmates, as they
          enter and exit, with a picture card. If the inmate has
          altered his appearance from the picture card, it will be
          noted so that a new picture card can be made.

     2.   All inmates entering the Visiting Room will be pat searched.
          All inmates leaving the Visiting Room will be visually
          (strip) searched. The departure of inmates will be
          supervised by the Visiting Room OIC. No further contact
          with visitors will be permitted after completion of a visit.

     3.   Visitors will be escorted to and from the Visiting Room by
          staff at a maximum rate of five visitors (excluding
          children) per one staff member.

L.   Conduct in the Visiting Room:

     4.   Hand shaking, embracing, and kissing are permitted within
          the bounds of good taste, at the beginning and end of the
          visit. Inmates and their visitors may hold hands during a
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           visit. Inmates are also permitted to hold their children,
           aged 3 years and under, during a visit.

     5.   All other physical contact will not be permitted and will be
          grounds for termination of the visit. All visitors will sit
          across from the inmate. Placement of inmates and visitors
          will be at the Visiting Room OIC’s discretion.

     6.   The Federal Detention Center SeaTac, Washington, Permits
          breast feeding in the visiting room. Female visitors will
          use appropriate discretion in opting to breast feed their
          infants in the visiting room. At a minimum, the female
          visitor will drape her infant and chest with clothing so
          there will be no exposed breast.

M.   Visit Terminations:

     All searches shall be conducted using the guidelines set forth in
     Program Statement 5510.15, Searching, Detaining or Arresting
     Persons Other than Inmates.

     1.   Right to Refusal: A visitor who objects to any search, test,
          or entrance procedures has the option of refusing and
          leaving the institution grounds, unless there is reason to
          detain or arrest the visitor. Staff shall deny admission to
          the institution to a visitor who refuses to undergo a search
          of person and/or effects as dictated by Bureau of Prisons
          policy. The Captain, SIS, IDO, and the ADO will be
          notified. Staff will contact the Operations Lieutenant or
          IDO prior to denying a visit.

     2.   Termination of a Visit: The IDO, in consultation with the
          Operations Lieutenant, shall terminate a visit upon
          determining a visitor is in possession of, or is passing or
          attempting to pass contraband not previously detected, or is
          engaging in any conduct or behavior which poses a threat to
          the orderly or secure running of the institution. The
          Operations Lieutenant or IDO will notify the ADO of a visit
          that has been denied and or terminated.

N.   Passing of Articles:

     1.   Visitors may not bring anything into the institution to be
          given to an inmate.

     2.   It is not permissible for papers of any kind to be examined
          or signed during social visits, nor may the visitor receive
          any items from the inmate. Such transactions must be
          handled through correspondence addressed to the inmate.
          Exceptions must be approved by the Unit Team or IDO.

     3.   Visitors are prohibited from giving money to an inmate in
          the Visiting Room. The Visiting Room Officer cannot accept
          funds for deposit to an inmate’s commissary account. Money
          is not authorized in the Visiting Room.

     4.   Bringing any unauthorized items, such as medication,
          weapons, tools, food, drugs or alcohol, into the institution
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           violates institution rules and Federal law. Infractions may
           result in the visitor’s permanent removal from the visiting
           list, referral to the proper law enforcement agencies for
           prosecution, and/or administrative sanctions against the
           inmate.

     5.   It is against the law for visitors and inmates to introduce,
          or attempt to introduce, into this institution or its
          grounds, or to take or attempt to take, or send or attempt
          to send from the institution, any article without the
          knowledge and consent of the Warden or his designee.

     6.   The use of cameras or recording equipment without the
          consent of the Warden, or his designee, is strictly
          prohibited. Violators are subject to criminal prosecution.

O.   Visits to Inmates Under Strict Medical Care:

     1.   Inmates admitted to local hospitals for medical treatment
          will not be allowed social visits unless authorized by the
          Warden. In instances authorized by the Warden, visitors
          will only visit according to that medical facility’s
          visiting times and visits will be limited to immediate
          family members only. These visits will not exceed one hour
          in duration and will be done with direct staff supervision.
          Identification, search procedures, etc., applicable at the
          institution will be enforced.

     2.   Visits may be restricted or prohibited for inmates under
          strict medical care (i.e., suffering from infectious
          disease, psychiatric or suicidal observation, being
          physically restrained, in dry cell status or otherwise not
          in condition to see visitors). Inmates with medical
          conditions will be reviewed by the Chief Medical Officer or
          in his/her absence, the Health Services Administrator, in
          consultation with the Captain to determine whether visiting
          will be permitted. The IDO or Operations Lieutenant should
          carefully and sensitively explain the situation to the
          proposed visitor.

     3.   All denied visits under the circumstances in this section
          will be documented in a memorandum and will be maintained in
          section 2 of the Privacy Folder in the Inmate Central File.

     4.   Circumstances may exist in which the Captain, in conjunction
          with the Medical or Psychology Departments, may determine
          that a visit can take place. The appropriate location of
          the visit will be determined by the consulting individuals.

P.   Inmate Separatees:

     Inmates and their separatees, and families of separated inmates
     will not be placed in the Visiting Room at the same time. Visits
     for inmates with separation assignments will be processed on a
     “first come, first serve basis.” The remaining visitors will be
     processed as soon as the Visiting Room Officer notifies the Front
     Lobby that the inmate and his or her visitors have departed.
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          The unit team will evaluate all inmates on their caseload and all
          incoming inmates to determine if they have an inmate who has been
          convicted of a sex offense involving a minor (WA CONV). Any
          inmate fitting this criteria will have the following annotation
          placed in the visiting program under the comments section: “this
          inmate was convicted of a sex offense involving a minor.” Any
          inmate identified as having a Walsh Act assignment involving a
          minor will have his/her visits closely monitored. Inmates
          meeting this criteria will be required to sit directly in front
          of the officer station when visiting with approved minors.

     Q.   VISITING REGULATIONS REGARDING PETS:

          Visitors are precluded from bringing animals on to the
          institutional grounds, except for animals that assist persons
          with disabilities. The visitor must provide staff with
          certification that the animal is trained for that purpose prior
          to the date of the visit. No animals will be left in visitors
          cars.


5.   OFFICE OF PRIMARY RESPONSIBILITY:   Correctional Services

                                              /s/        _____
                                         C. Ingram
                                         Warden




          Attachment: Inmate Visitation Log
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SET 5267.09A                                                         Attachment A


  Date       Name         Reg#   Glasses        Legal      Wedding      Religious   Shoe    Other
                                               Papers      Ring            Wear     color
                                              (Amount)




                                           U.S. Department of Justice
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                                             Federal Bureau of Prisons

                                                                 Federal Detention Center
                                                                 SeaTac, Washington

                          FDC SeaTac Computer Laptop, IPad, and External Memory Devices Agreement

As the undersigned attorney, I agree to the following conditions in exchange for the privilege of bringing in a laptop computer, an
IPad, and/or external memory devices into the Federal Detention Center at SeaTac, Washington (“FDC SeaTac”), for the sole purpose
of a legal visit.

        1.        I provide my consent and acknowledge that my electronic equipment and data I bring into FDC SeaTac is subject to
                  search for physical and data contraband at any time.

        2.        I acknowledge that data contraband is material in electronic form that could cause physical injury or affect the
                  security, safety, or good order of the institution. See 28 C.F.R. § 500.1(h). It includes, but is not limited to, photos,
                  plans, or drawings of the institution; any personal text, audio, video, or photographic messages for the inmate;
                  personal or sexually suggestive photographs; and information regarding other BOP inmates that is not related to the
                  professional reasons for the legal visit.

        3.        If my electronic equipment has information stored other than the data required for my professional legal visit, I will
                  ensure such data is not revealed or accessed by the inmate I am authorized to visit.

        4.        The laptop or IPad will not be used for non-legal or entertainment purposes, e.g. playing games, listening to music, et
                  cetera.

        5.        I understand that if I chose to bring in a power cord, the power cord shall not exceed 6 feet.

        6.        I will not make any audio or video recordings with my laptop or IPad.

        7.        I will disable all wireless communication features for my laptop. I will not access the Internet in any way.

        8.        At the conclusion of the legal visit, I will retrieve all equipment that I brought into the legal visiting room.

        9.        I acknowledge that this privilege may be revoked at any time for any reason. I also acknowledge that misconduct,
                  and/or violation of any BOP policies, may result in termination or restrictions for legal visits pursuant to 28 C.F.R. §
                  543.14.

        10.       I agree to assume the risk and liability of bringing in my laptop, IPad, and/or external memory devices into FDC
                  SeaTac, and hold harmless the United States and its employees from any liability for any damage or personal injury
                  which may occur from the use of my laptop, IPad and/or external memory devices inside FDC SeaTac. The release
                  of liability by me to the United States and its employees shall apply to any right of action that might accrue to
                  myself, my heirs or my personal representatives.


        _________________                     __________________           ___________                 ______
        Attorney Name (print)                 Signature                    Bar. No.                    Date
